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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                UNITED STATES BANKRUPTCY COURT                                           December 12, 2023
                                  SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                        HOUSTON DIVISION
                                                               §
In re:                                                         § Chapter 11
                                                               §
STRUDEL HOLDINGS LLC and                                       § Case No. 23-90757 (CML)
AVR AH LLC,                                                    §
                                                               § (Jointly Administered)
                      Debtors.1                                §
                                                               §

     ORDER GRANTING FIRST INTERIM FEE APPLICATION OF PORTER HEDGES
       LLP FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
                        EXPENSES FOR THE PERIOD FROM
            JULY 27, 2023 THROUGH AND INCLUDING OCTOBER 31, 2023
                             (Relates to Docket No. 290)

           The Court has considered the First Interim Fee Application of Porter Hedges LLP for

Allowance of Compensation and Reimbursement of Expenses for the Period from July 27, 2023

through and including October 31, 2023 (the “Application”) filed by Porter Hedges LLP (the

“Applicant”).2 The Court orders:

           1.       The Applicant is allowed interim compensation and reimbursement of expenses in

the amount of $1,136,457.84 for the period set forth in the Application.

           2.       The Debtors are authorized to disburse any unpaid amounts allowed by paragraph 1

of this Order.

SIGNED:          December 12                   , 2023.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
    CO 91612.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Application.



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